Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                       Page:1 of 15


                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF GEORGIA
                                       AUGUSTA DIVISION

 In re:                                               )       Chapter 11
                                                      )
 FIBRANT, LLC, et al.,1                               )       Case No. 18-10274 (SDB)
                                                      )
                                                      )
                             Debtors.                 )       Jointly Administered
                                                      )

     DEBTORS’ MOTION FOR ENTRY OF AN ORDER PURSUANT TO 11 U.S.C. §§ 105
     AND 363: (I) APPROVING ASSET PURCHASE AGREEMENT AND AUTHORIZING
      THE SALE OF ASSETS, (II) AUTHORIZING THE SALE OF ASSETS FREE AND
       CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS, AND
                         (III) GRANTING RELATED RELIEF

          Fibrant, LLC (the “Seller”) and its affiliated debtors-in-possession (collectively, the

 “Debtors”) file this motion (the “Motion”), pursuant to Sections 105(a) and 363 of title 11 of the

 United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy Code”) and Rules 2002, 6004 and

 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an

 order, in the form attached hereto as Exhibit A (the “Approval Order”): (a) approving that certain

 Purchase and Sale Agreement, dated as of May 9, 2018, by and among PCS Nitrogen Fertilizer,

 L.P. (together with its permitted successors and assigns, the “Purchaser”) and the Seller, a true

 and correct copy of which is attached hereto as Exhibit B (the “Agreement”),2 (b) authorizing

 Seller to sell certain assets as set forth in the Agreement, free and clear of all Liens (as defined

 below), in accordance with the terms and conditions of the Agreement; and (c) granting related

 relief. In support of this Motion, the Debtors respectfully show the Court as follows:

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
 tax identification number, are: Fibrant, LLC (6694); Evergreen Nylon Recycling, LLC (7625);
 Fibrant South Center, LLC (8270); and Georgia Monomers Company, LLC (0042).
 2
   Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
 the Agreement.


 DMSLIBRARY01\32173988.v2
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                      Page:2 of 15


                                    JURISDICTION AND VENUE

          1.        This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

 1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2). The statutory predicates for the relief requested

 herein are Sections 105 and 363 of the Bankruptcy Code.

                                        RELIEF REQUESTED

          2.        By this Motion, the Debtors request that the Court enter the Approval Order: (a)

 authorizing the sale of certain assets of the Seller to the Purchaser free and clear of any and all

 liens, claims, or encumbrances of any kind or nature whatsoever, other than Permitted

 Exceptions (“Liens”), and (b) granting related relief. The Debtors also seek authorization to take

 all reasonable and necessary steps to complete and implement the Agreement after the approval

 of the sale.

                                            BACKGROUND

     A. The Chapter 11 Cases.

          3.        On February 23, 2018 (the “Petition Date”), the Debtors filed voluntary petitions

 with the Court under chapter 11 of the Bankruptcy Code.

          4.        The factual background relating to the Debtors’ commencement of these cases is

 set forth in detail in the Declaration of David Leach in Support of First-Day Motions and

 Applications (the “First-Day Declaration”) filed on the Petition Date and incorporated herein by

 reference.

          5.        The Debtors have continued in possession of their properties and continue to

 operate and manage their business as debtors-in-possession pursuant to Sections 1107(a) and

 1108 of the Bankruptcy Code.



 DMSLIBRARY01\32173988.v2
                                                    2
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                       Page:3 of 15


          6.        On March 16, 2018, an Official Committee of Unsecured Creditors was appointed

 in these cases. As of the date of the filing of this Motion, no request for the appointment of a

 trustee or examiner has been made.

 B.       Background to the Sale.

          7.        Prior to and following the Petition Date, the Debtors discussed the potential sale

 of all or material portions of their assets with a number of unaffiliated third party buyers. A

 number of these potential asset purchasers conducted significant due diligence regarding the

 Debtors’ assets. However, because of the presence of hazardous waste or hazardous constituents

 at the Debtors’ plant site and the related obligation to conduct environmental remediation at the

 plant site, these potential buyers decided not to submit binding transaction proposals to the

 Debtors. In addition, prior to the Petition Date, the Debtors listed for sale the Fibrant South

 Property (as such term is defined in the First Day Declaration), the Debtors’ central office

 building and related parking lot (the “COB Property”), and the Debtors’ administrative building

 and adjacent parking lot (the parking lot is referred to as the “Parking Lot Property”) with real

 estate brokers. After being on the market for a number of months, the Debtors did not receive any

 bids for these parcels of real estate (whether at or below the listing prices).

          8.        The Purchaser operates a chemical plant that is directly adjacent to the Debtors’

 plant site. In addition, the Purchaser and Seller jointly own and operate certain personal property

 comprising the river water pump station at the Savannah River (on the edge of the Debtors’ plant

 site), and the Purchaser holds certain easement rights over a portion of the Debtors’ real property

 and associated facilities (to facilitate the supply of river water from the river water pump station

 to Purchaser’s chemical plant). The Purchaser began evaluating the purchase of certain assets of

 the Debtors during the fall of 2016. In February 2018, Purchaser and Seller began negotiating the



 DMSLIBRARY01\32173988.v2
                                                    3
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                         Page:4 of 15


 terms under which Purchaser would acquire certain assets of Seller, namely the Parking Lot

 Property, a parcel of land that includes the river water pump station (the “Pump House

 Property”), and the COB Property. These discussions culminated in a definitive offer by the

 Purchaser to acquire the Assets, as described below.

 D.       The Purchase and Sale Agreement.

          9.        After carefully evaluating their alternatives, taking into account the unique nature

 of the Debtors’ real property and its environmental condition, the Debtors concluded that a sale

 of certain real property assets and related improvements, personal property, entitlements, permits,

 warranties, and books and records, as described in detail in the Agreement (collectively, the

 “Assets”), is in the best interests of the Debtors’ stakeholders. The Debtors are in the process of

 completing the decommissioning of their manufacturing facilities and associated assets.

 Although the Debtors have sufficient funding to complete the decommissioning, the Debtors

 project they may exhaust their remaining liquidity sometime during July or August 2018 (absent

 any infusions of cash). The monetization of the Assets will generate cash needed to fund the

 estates through plan confirmation, to continue the environmental remediation at the plant site,

 and to fund distributions to creditors.

          10.       Accordingly, on May 9, 2018, the Seller and the Purchaser entered into the

 Agreement. The Agreement contemplates the sale (the “Sale”) of the Assets to the Purchaser and

 contains the following material terms:3

                       Assets. The Assets include (a) the Pump House Property, COB Property and
                        Parking Lot Property, together with all plants, shrubs and trees located thereon
                        and all rights, ways and easements appurtenant thereto (collectively, the

 3
   The following description of the Agreement is qualified in its entirety by the language of the
 Agreement. In the event there is any conflict between the description of the Agreement contained
 in this Motion and the provisions of the Agreement, the provisions of the Agreement shall govern
 and control.


 DMSLIBRARY01\32173988.v2
                                                     4
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                          Page:5 of 15


                        “Land”); (b) all buildings, structures, driveways, parking areas, sidewalks and
                        other improvements of any nature located on the Land and all fixtures attached
                        or affixed to the Land or to any such buildings, structures or other
                        improvements (collectively, the “Improvements”); (c) all goods, equipment,
                        appliances, machinery, apparatus, fittings, furniture, furnishings and other
                        tangible personal property owned by the Seller or jointly owned by Seller and
                        Purchaser and located on the Land or within the Improvements, excluding
                        computer equipment located in the COB Property (collectively, the
                        “Personalty”); (d) all right, title, interest, powers, privileges, benefits and
                        options of Seller in and to (i) any impact fee credits with, or impact fee
                        payments to, any county or municipality in which the Land is located arising
                        from any construction of improvements, or dedication or contribution of
                        property, by Seller, or its predecessor in title or interest, related to the Land,
                        (ii) any development rights or other similar rights attributable to the Land or
                        the Improvements, and (iii) any utility capacity allocated to or attributable to
                        the Land or the Improvements; (e) to the extent transferable without obtaining
                        the consent of any counterparty, all permits, certificates of occupancy,
                        dedications, approvals and authorizations held by Seller and affecting the
                        ownership, operation, management and maintenance of the Land and the
                        Improvements and all modifications, renewals and extensions thereof which
                        are in full force and effect on and as of the Closing Date (collectively, the
                        “Permits”); provided, however, any permits relating to environmental matters
                        on the Land, including, without limitation, Seller’s Permit No. HW-016 (ST &
                        CA) (the “EPD Permit”), are excluded from the definition of “Permits” and
                        will not be acquired by Purchaser; (f) to the extent assignable without
                        obtaining the consent of any counterparty, all warranties, bonds and guaranties
                        held by Seller and relating to the ownership, operation, management and
                        maintenance of the Land, the Improvements or the Personalty (collectively,
                        the “Warranties”); and (g) all books and records associated with the Property,
                        excluding file cabinets located in the COB Property and the contents of such
                        file cabinets.

                       Purchase Price. $5,000,000.00 cash ($3,400,000 for Pump House Property,
                        $1,400,000 for COB Property and $200,000 for Parking Lot Property).

                       Deposit. $375,000.00 delivered to Fidelity National Title Insurance Company
                        on the Effective Date.

                       Broker and Commission. None.

                       Bidding Protection (Breakup Fee). None.

                       Conditions Precedent. The Purchaser’s obligation to close the purchase of
                        the Assets is subject to the conditions precedent that (among other things) (a)
                        the Georgia Environmental Protection Division shall have issued a final and
                        unappealable modification or amendment to the EPD Permit to remove each



 DMSLIBRARY01\32173988.v2
                                                      5
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                        Page:6 of 15


                        Parcel from the definition of a regulated facility for purposes of the Act and
                        the EPD Permit, and (b) the Required Subdivision shall have occurred in
                        accordance with Section 21 of the Agreement.

          11.       The terms of the Agreement were negotiated at arms-length between the parties to

 the Agreement.

                                              ARGUMENT

          12.       The Debtors have determined in their business judgment that a sale of the Assets

 pursuant to the Agreement is in the best interests of their stakeholders. The Debtors believe the

 Agreement provides the Debtors with the best opportunity to preserve and maximize the value of

 the Assets for the benefit of their estates. As such, the Debtors submit that approval of this

 Motion and the sale of the Assets is consistent with applicable law and should be granted.

 A.       Section 363(b) Authorizes the Proposed Sale.

          13.       Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that “[t]he

 trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course of

 business, property of the estate.” 11 U.S.C. § 363(b)(1). Although Section 363 of the Bankruptcy

 Code does not set forth a standard for determining when it is appropriate for a court to authorize

 the sale or disposition of a debtor’s assets, in applying this section, courts have required that it be

 based upon the sound business judgment of the debtor. See In re Chateaugay Corp., 973 F.2d

 141, 145 (2d Cir. 1992) (holding that a court's authorization to sell assets should be based upon a

 good business reason); In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983) (same); In re

 Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991); In re Phoenix Steel Corp., 82

 B.R. 334, 335-36 (Bankr. D. Del. 1987) (stating that approval of a Section 363 sale requires a

 showing that the proposed sale is fair and equitable, a good business reason exists for completing

 the sale and that the transaction is in good faith). The sale of the Assets is a sound exercise of the



 DMSLIBRARY01\32173988.v2
                                                     6
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                      Page:7 of 15


 Debtors’ business judgment because it provides the Debtors with the best opportunity to preserve

 and maximize the value of the Assets for the benefit of their estates.

 B.       Sound Business Reasons Support a Sale.

          14.       The Agreement provides a greater net recovery for the Debtors’ estates than could

 realistically be achieved by any other practically available alternative. Prior to the Petition Date,

 the Debtors did not receive any bids for all or any portion of the Assets and the Debtors do not

 have sufficient liquidity to market the Assets for a lengthy period of time. Moreover, given the

 location of the Assets, the environmental contamination at the Debtors’ plant site, and the reality

 that the Assets are unlikely to be usable by, or saleable to, any third party that does not have

 existing business operations in the immediate vicinity of the Assets, the Purchaser is the logical

 buyer for the Assets. Only a company like the Purchaser, which has a plant directly adjacent to

 the Debtors’ plant site and has a specific need for the Parking Lot Property, Pump House

 Property and COB Property, is likely to be interested in purchasing any of the Assets. The

 Debtors believe the purchase price for the Assets is reasonable, equals or exceeds the current fair

 market value of the Assets, and is the highest price reasonably attainable for the Assets (in their

 present condition).

          15.       The Debtors’ decision to enter into the Agreement and to sell the Assets to the

 Purchaser is a valid and sound exercise of the Debtors’ business judgment. The Debtors have

 engaged in reasonable and appropriate marketing of the Assets prior to and since the Petition

 Date, and strongly believe that these efforts, in light of the environmental issues facing the

 Debtors, have resulted in the highest and best possible value for the Assets. The Agreement was

 negotiated and is presented in good faith after extensive arms-length discussions between the

 Purchaser and the Debtors. The Debtors have considered all of their options under the



 DMSLIBRARY01\32173988.v2
                                                    7
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                           Page:8 of 15


 circumstances, including their liquidity constraints, and have determined that the Sale will result

 in the greatest recovery that is reasonably possible for the Assets.

          16.       For all of the foregoing reasons, the relief requested in this Motion is a product of

 sound business judgment and is in the best interests of the Debtors, their creditors, employees,

 estates and other stakeholders, and should be granted.

 C.       Section 363(f) Authorizes the Sale Free and Clear of Liens and Other Claims.

          17.       No creditor asserts a blanket lien on the Debtors’ assets. To the extent any creditor

 holds or assets a lien, interest, encumbrance or claim on any Asset or portion of the Assets, the

 Debtors request that the sale and transfer of the Assets be approved free and clear of all claims,

 liens, interests or other encumbrances (other than Permitted Exceptions). Such relief is consistent

 with the provisions of Section 363(f) of the Bankruptcy Code.

          18.       Section 363(f) provides that a debtor-in-possession may sell property free and

 clear of any lien, claim or interest of another entity in such property if any of the following

 circumstances pertain:

                            (1)    applicable non-bankruptcy law permits sale of such property free
                            and clear of such interest;

                            (2)    such entity consents;

                            (3)     such interest is a lien and the price at which such property is to be
                            sold is greater than the aggregate value of all liens on such property;

                            (4)    such interest is in bona fide dispute; or

                            (5)    such entity could be compelled, in a legal or equitable proceeding,
                            to accept a money satisfaction of such interest.
 11 U.S.C. § 363(f).

          19.       As indicated by the use of the disjunctive term “or,” satisfaction of any one of the

 five requirements listed in Section 363(f) is sufficient to permit the sale of assets free and clear of



 DMSLIBRARY01\32173988.v2
                                                      8
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                         Page:9 of 15


 Liens. See In re Elliott, 94 B.R. 343, 345 (E.D. Pa. 1988) (stating that Section 363(f) is written in

 the disjunctive; the court may approve a sale “free and clear” provided that at least one of the

 subsections is met).

          20.       In this instance, the Debtors believe that any entity asserting a lien or security

 interest in any of the Assets has (or will) consent to the sale. Accordingly, the Assets may be sold

 free and clear of Liens pursuant to Section 363(f)(2) of the Bankruptcy Code.

          21.       Moreover, the Debtors can also satisfy Section 363(f)(5) of the Bankruptcy Code.

 The “cram down” provision of Section 1129(b) of the Bankruptcy Code sets forth a “legal or

 equitable proceeding” pursuant to which a secured creditor can be compelled to “accept a money

 satisfaction” on account of its security interest in satisfaction of Section 363(f)(5) of the

 Bankruptcy Code. See, e.g. In re Grand Slam U.S.A. Inc., 178 B.R. 460, 462 (E.D. Mich. 1995)

 (holding that “cram down” provisions of Section 1129(b) satisfy “legal or equitable proceeding”

 requirement of Section 363(f)(5)); In re Gulf States Steel, Inc. of Alabama, 285 B.R. 497, 508-09

 (Bankr. N.D. Ala. 2002) (same); In re Terrace Chalet Apartments Ltd., 159 B.R. 821, 829 (N.D.

 Ill. 1993) (same); but see In re PW, LLC, 391 B.R. 25, 46 (B.A.P. 9th Cir. 2008) (holding that

 “cram down” provision of Section 1129(b) did not satisfy “legal or equitable” proceeding

 requirement of Section 363(f)(5)). Under Section 1129(b) of the Bankruptcy Code, a secured

 creditor is generally entitled to either (a) retain its security interest in its collateral, (b) receive

 payment(s) on account of the value of its security interest (if any), or (c) have its security interest

 attach to the net proceeds of the sale of its collateral. See 11 U.S.C. §§ 1129(b)(2)(A)(i)-(ii); see

 also In re Riverside Inv. P’ship, 674 F.2d 634, 640 (7th Cir. 1982) (holding that liens attach to

 sale proceeds in same order and priority as liens held against collateral sold by trustee under prior

 Bankruptcy Act). In these cases, the Debtors propose that any Liens on the Assets held by



 DMSLIBRARY01\32173988.v2
                                                    9
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                           Page:10 of 15


  creditors will attach to the net proceeds of the Sale, subject to any claims and defenses that the

  Debtors may possess with respect thereto.

           22.       It is also appropriate to sell the Assets free and clear of successor liability claims.

  Such limitations on successor liability ensure that the Purchaser is protected from any claims or

  lawsuits premised on the theory that the Purchaser is a successor in interest to the Debtors.

  Courts have consistently held that a buyer of a debtor’s assets pursuant to a Section 363 sale

  takes free and clear from successor liability relating to the debtor’s business. See e.g., In re Trans

  World Airlines, Inc., 322 F.3d 283, 288-90 (3d Cir. 2003) (sale of assets pursuant to section

  363(f) barred successor liability claims for employment discrimination and rights under travel

  voucher program); In re Leckie Smokeless Coal Co., 99 F.3d 573, 585–86 (4th Cir. 1996)

  (affirming the sale of debtors’ assets free and clear of certain taxes); In re Dixie Pellets LLC,

  2009 WL 8189341 (Bankr. N.D. Ala. Sept. 13, 2009) (approving sale of substantially all of

  debtor’s assets free and clear of all liens, including but not limited to “all rights or claims based

  on any theory or principle of successor liability”); In re Ormet, 2014 WL 3542133, at *3 (Bankr.

  D. Del. July 17, 2014) (permitting a sale free and clear of successor liability claims relating to an

  under-funded pension plan); In re Insilco Techs., Inc., 351 B.R. 313, 322 (Bankr. D. Del. 2006)

  (stating that a 363 sale permits a buyer to take ownership of property without concern that a

  creditor will file suit based on a successor liability theory).

           23.       The purpose of a Bankruptcy Court sale order authorizing the transfer of assets

  free and clear of all claims, liens and encumbrances would be defeated if claimants could

  thereafter use the transfer as a basis to assert claims against a purchaser arising from a seller’s

  pre-sale conduct. Indeed, bankruptcy courts in Georgia frequently enter orders pursuant to

  Section 363 of the Bankruptcy Code containing provisions regarding successor liability similar to



  DMSLIBRARY01\32173988.v2
                                                       10
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                          Page:11 of 15


  those found in the Approval Order. See, e.g., In re Astroturf, LLC, Case No. 16-41504, Docket

  No. 202, ¶¶ P, 16 (Bankr. N.D. Ga. Aug. 12, 2016) (Bonapfel, J.); In re South. Reg’l Health Sys.,

  Inc., Case No. 15-64266-wlh, Docket No. 373, ¶ 31 (Bankr. N.D. Ga. Oct. 27, 2015) (Hagenau,

  J.); In re Cagle’s, Inc., Case No. 11-80202, Docket No. 439, ¶ 33 (Bankr. N. D. Ga. May 11,

  2012) (Bihary, J.); In re Lake Burton Dev., LLC, Case No. 09-22830, Docket No. 142, ¶¶ 31–32

  (Bankr. N.D. Ga. Apr. 13, 2010) (Bonapfel, J.).

           24.       Accordingly, the requirements of Section 363(f) of the Bankruptcy Code can be

  satisfied, and the sale of the Purchased Assets free and clear of all Liens is appropriate.

  D.       The Purchaser Should Be Afforded All Protections Under Bankruptcy Code Section
           363(m) as a Good Faith Purchaser.

           25.       Section 363(m) of the Bankruptcy Code provides that “the reversal or

  modification on appeal of an authorization under subsection (b) or (c) of this section of a sale or

  lease of property does not affect the validity of a sale or lease under such authorization to an

  entity that purchased or leased such property in good faith . . . .” 11 U.S.C. § 363(m).

           26.       The transaction reflected in the Agreement was negotiated by the parties,

  represented and independently advised by counsel, at arm’s length and in good faith. The

  Purchaser is neither an “insider” nor an affiliate of the Debtors, and the Purchaser does not have

  any relationship to the Debtors that has not been fully disclosed to the Court. Accordingly, the

  Debtors request that the Purchaser be determined to have acted in good faith and be entitled to

  the protections of a good faith purchaser under Section 363(m) of the Bankruptcy Code. See, e.g.,

  In re United Press Int’l, Inc., No. 91 B 13955 (FGC), 1992 U.S. Bankr. LEXIS 842, at *3

  (Bankr. S.D.N.Y. May 18, 1992); see also Miami Ctr. L.P. v. Bank of N.Y., 838 F.2d 1547, 1554

  (11th Cir. Fla. 1988) (“The “good faith purchaser” is one who buys in good faith, that is, free of

  any fraud or misconduct and for value and without knowledge of any adverse claim.”).


  DMSLIBRARY01\32173988.v2
                                                    11
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                       Page:12 of 15


  E.       Deemed Consent.

           27.       The Debtors request that: (a) each holder of a Lien on the Assets that does not

  object, or that withdraws its objection, to the sale of the Assets and this Motion be deemed to

  have consented to the sale of the Assets free and clear of all Liens (other than Permitted

  Exceptions); and (b) each governmental authority that has issued or granted a Permit and that

  does not object, or that withdraws its objection, to the sale of the Assets and this Motion be

  deemed to have consented to the transfer of such Permit to the Purchaser as of the Closing Date.

  See FutureSource LLC v. Reuters Ltd., 312 F.3d 281, 285 (7th Cir. 2002) (Posner, J.) (holding

  that a licensee’s failure to object to a sale constituted consent to the sale of intellectual property

  “free and clear” of the licensee’s interests under Section 363 of the Bankruptcy Code); In re

  Christ Hospital, 502 B.R. 158, 174–75 (Bankr. D.N.J. 2013) (adopting the conclusion in

  FutureSource that failure to object to a section 363 sale constitutes consent); Hargrave v.

  Township of Pemberton (In re Tabone, Inc.), 175 B.R. 855, 858 (Bankr. D.N.J. 1994) (“As the

  Township did not offer any objection, it may be deemed to have consented to the sale for

  purposes of section 363(f)(2).”); In re Shary, 152 B.R. 724, 725 (Bankr. N.D. Ohio 1993) (state’s

  failure to object to transfer of liquor license in connection with a section 363 sale constituted

  consent to the transfer). Courts in Georgia have granted similar relief in connection with sales

  pursuant to Section 363 of the Bankruptcy Code. See, e.g., In re South. Reg’l Health Sys., Inc.,

  Case No. 15-64266-wlh, Docket No. 373, ¶¶ X, 14, 24 (Bankr. N.D. Ga. Oct. 27, 2015)

  (Hagenau, J.); In re Cagle’s, Inc., Case No. 11-80202, Docket No. 439, ¶¶ W, 16, 26 (Bankr. N.

  D. Ga. May 11, 2012) (Bihary, J.); In re Lake Burton Dev., LLC, Case No. 09-22830, Docket No.

  142, ¶¶ T, 39 (Bankr. N.D. Ga. Apr. 13, 2010) (Bonapfel, J.); In re Astroturf, LLC, Case No. 16-

  41504, Docket No. 202 (Bankr. N.D. Ga. Aug. 12, 2016) (Bonapfel, J.).



  DMSLIBRARY01\32173988.v2
                                                    12
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25                        Page:13 of 15


                                                 NOTICE

           28.       A copy of this Motion (together with a notice of hearing setting forth the time and

  location of the hearing on this Motion and the deadline for filing objections to this Motion) has

  been provided to (a) parties on the Master Service List; (b) the Purchaser; (c) all entities known

  to the Debtors that assert a Lien in any of the Assets; and (d) all governmental authorities known

  to the Debtors that may have regulatory oversight over any of the Assets.

           29.       The Debtors respectfully submit that such notice is sufficient and proper under the

  circumstances, and that no other or further notice is required.

                                              CONCLUSION

           WHEREFORE, based upon the foregoing, the Debtors respectfully request that the Court

  enter the Approval Order in the form attached hereto as Exhibit A: (a) approving the Agreement;

  (b) approving the sale of the Assets free and clear of all Liens; and (c) granting such other and

  further relief as the Court deems just and proper.




  DMSLIBRARY01\32173988.v2
                                                     13
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25   Page:14 of 15


  Dated: May 9, 2018           Respectfully submitted,
         Augusta, Georgia
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  DMSLIBRARY01\32173988.v2
                                        14
Case:18-10274-SDB Doc#:241 Filed:05/10/18 Entered:05/10/18 17:09:25   Page:15 of 15




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